Case 2:10-cv-08888-CJB-JCW Document 85335 Filed 04/20/11 Page 1of3

IN RE: OIL SPILL by “Deepwater Horizon”

ar “© DIRECT FILING SHORT FORM‘
\\ Ww kk Authorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982
is
aes Ps cat (Copies of said Order having also been filed in Civil Actions No. 10-8888 and 10-2771)
0 far SECTION: J JUDGE CARL BARBIER

By submitting this document, | am asserting a claim in Compiaint and Petition of Triton Asset Leasing GmbH, et
al., No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244] to the Compiaint and Petition of Triton
Asset Leasing Gmbh, et al., in No. 10-2771; and/or intervene into, join and otherwise adopt the Master Complaint
{Rec. Doc. 879] for private economic losses (“B1 Bundle”) filed in MDL No. 2179 (10 md 2179); and/or intervene

into, join and otherwise adopt the Master Comptaint [Rec. Doc. 881] for post-expiosion injuries (“B3 Bundle”)
filed in MDL No. 21783 (10 md 2179).

Last Name | First Name Middle Name/Maiden Suffix

WANG GUIZHONG HUI
(S17) S15- 3 57 3 E-Mail Address
{2657- B HWY 49 GULFEGRT, Ms 39503

BUSINESS CLAIM

Employer eons = ey TIN TNC.
Job Title / Description RES TAITBANT

“ess {3057 HWY 49 STE B
ony sate tae GULFPGRT, MS 39503
Last 4 digits of your Social Security Number Last 4 digits of your Tax ID Number
UOREN'G. KLITSAS KUITSAS & VERCHER, P.C.
550 WESTCOTT ST STE 570 HOUSTGN, TX 77007
713) 862-1365 KLTSAS@KV-LAW.COM
Claim filed with BP? YEs O NO Claim Filed with GOCF?: YES NO A
lf yes, BP Claim No.: Hf yes, Claimant Identification Na.:1 106683

:

Claim Type (Please check all that apply):

| | Damage or destruction to real or personal property Fear of Future injury and/or Medical Monitoring
Earnings/Profit Loss Loss af Subsistence use of Natural Resources
| Personal Injury/Death Removal and/or clean-up costs

Other:

1 This form should be filed with the U.S. District Court for the Eastem District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70230, in Civil Action No.
410-8888. While this Direct Filing Short Form is to be filed in CA No. 10-8888, by prior order of the Court, (Rec. Doc. 246, C.A. No, 10-2771 and Rec. Doc. 982 in MDL
2179}, the filing of this form in C.A. No. 10-8888 shall be deemed to be simultaneously filed in CA. 10-2771 and MDL 2179. Plaintiff Liaison Counsel, after being
notified electronically by the Clerk of Court of the filing of this Short Farm, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.

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The filing of this Direct Filing Short Form shail also serve in liew of the requirement of a Plaintiff to file a Plaintiff Profile Form.

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Brief Description:

1. For eamings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims
involving real estate/property, include the property location, type of property (residential/commercial), and whether physical
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

MR. WANG OWNS A CHINESE RESTAURANT IN GULFPORT, MS. HIS RESTAURANT

HAVE GREATLY INCREASED DUE TO THE PRICE AND AVAILABILITY OF SEAFOOD.

2, For personal injury claims, describe the injury, how and when it was sustained, and identify all health care providers and
employers 2008 to present and complete authorization forms for each.

N/A

3. For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
employer, and where you were working.

NWA

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The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.
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Please check the box(es} below that you think apply to you and your claims:

Non-governmental Economic Loss and Property Damage Claims (Bundle B1)

oO 4. Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fishing, shrimping,
crabbing or oystering.

2. Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

Fy] 3. Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
fishing business who eam their living through the use of the Gulf of Mexico.

4. Commercial business, business owner, operator or worker, including commercial divers, offshore oilfield service, repair and
supply, real estate agents, and supply companies, or an employee thereof.

CI 5. Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.
LC 6. Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator.

oO? Owner, lessor, or lessee of real propert y allaged to be damaged, harmed or impacted, physically or economically, including
lessees of oyster beds.

CO §. Hotel owner and operator, vacation rental owner and agent, or all those who eam their living from the tourism industry.
(J 3. — Bank, financial institution, or retail business that suffered losses as a result of the spill.

10. Person who utilizes natural resources for subsistence,
NVI Ni Ti
14. Other: CONVENIENCE STORE

Post-Expiosion Personal Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle B3)

oO 1. Beat captain or crew involved in the Vessels of Opportunity program.

oO 2. Worker involved in decontaminating vessels that came into contact with oil and/or chemical dispersants.

7 3. Vessel captain or crew who was not involved in the Vessels of Opportunity program but who were exposed to harmful chemicals,
odors and emissions during post-explosion clean-up activities.

oO 4, Clear-up worker or beach personnel invalved in clean-up activities along shorelines and intercoasta! and intertidal zones.

oO 5. Resident who lives or works in close proximity to coastal waters.

(6. = Other.

Both BP and the Gulf Coast Claim s Facility (“GCCF") are hereby authorized to relea se to the Defend ants in MDL
2179 alt information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full copies of same being made available to both
the Plaintiff (or his attomey if applicable) filing this form and PSC through Plaintiff Liaison Counsel.

Claimant prftgipey Signature

LOREN G. KLITSAS

Print Name

Yl2nj 1

Date

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The filing of this Direct Filing Short Form shal! aiso serve in Jiew of the requirement of a Plaintiff to file a Plaintiff Profile Form.
